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                                                                    CFOll&L)NOTICE:AttorneysMUSTInàl    cateAIIRe-filedCasesBelow.
1.(a) PLAINTIFFS PuesFamilyTrustIRA                                                                                   DEFENDANTS ParnasHoldings,lnc.,and Lev Parnas,
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    (b) countyofResidenceofFirstListedPlaintiff                                                                       CountyofResidenceorFirstListedDefendant
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